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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                  :      Case No. 2:23-CV-02813-MHW-CMV
                                           :
                     Plaintiff,            :      Judge Michael H. Watson
                                           :
v.                                         :      Magistrate Judge Chelsey M. Vascura
                                           :
JOSEPH EARL LUCAS, et al.                  :
                                           :
                     Defendants.           :

           MOTION TO INTERVENE OF UNITED OHIO INSURANCE COMPANY

       Now comes United Ohio Mutual Insurance Company (“United Ohio”), by and through

counsel, Plunkett Cooney, and respectfully moves this Court, pursuant to Rule 24 of the

Federal Rules of Civil Procedure, for leave to intervene as a Defendant in the above-captioned

matter to pursue a declaratory judgment against Defendants Joie Carr and Jeremy Carr.

United Ohio seeks intervention so that the rights and obligations of the parties can be

determined and resolved by this Court as it relates to a policy of insurance United Ohio

issued to Defendants Joie Carr and Jeremy Carr.

       United Ohio attaches hereto a Memorandum in Support of its Motion to Intervene,

which is incorporated herein. In accordance with Civ.R. 24(c), United Ohio also attaches as

Exhibit A the pleading setting forth United Ohio’s declaratory judgment claim. Finally, a

Proposed Order granting this Motion is submitted for the Court’s consideration.

                                           Respectfully submitted,

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                            MEMORANDUM IN SUPPORT

I.     FACTUAL BACKGROUND

       This lawsuit stems from allegations that Defendant Joseph Earl Lucas, over the course

of a number of years, has subjected actual and prospective female tenants of various rental

properties he managed “to discrimination on the basis of sex, including unwelcome and

severe or pervasive sexual harassment, on multiple occasions.” (See Am. Comp., ¶ 14.) This

includes at least one rental property Defendant Joseph Earl Lucas managed as an agent on

behalf of Defendants Joie Carr and Jeremy Carr. (See Am. Comp., ¶¶ 12-13.)

       Plaintiff United States of America filed its Amended Complaint herein against Mr.

Lucas, as well as Joie and Jeremy Carr on February 21, 2024, “to enforce the provision of Title

VIII of the Civil Rights Act of 1968, as amended, 42 U.S.C. §§ 3601-3619 (“Fair Housing Act”).

Joie and Jeremy Carr have requested coverage for the claims asserted against them in this

action under United Ohio Policy No. CPP 0018878, which was issued to J Carr Rental

Property, LLC initially for the period January 15, 2014 to January 15, 2015 and for

subsequent one-year policy periods thereafter. (“United Ohio policies”). The United Ohio

policies may not provide coverage to Joie and Jeremy Carr for the claims asserted against

them herein. United Ohio is providing a defense to Joie and Jeremy Carr in this action, but

such defense is being provided under a complete reservation of rights.

       United Ohio seeks leave to intervene herein as the facts necessary to resolve the issue

of whether Joie and Jeremy Carr are entitled to coverage under the United Ohio policies will
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be developed in this action. All parties necessary to resolve the dispute as to any coverage

owed to Joie and Jeremy Carr under the United Ohio policies are all named parties in this

action. Indeed, having all interested parties before a single court can have a salutary effect

upon resolution of this action.

         Considering the foregoing, United Ohio seeks to intervene herein in order to pursue

a declaratory judgment action against Joie and Jeremy Carr concerning the issue related to

insurance coverage and/or to submit jury interrogatories at trial of this matter on issues

related to insurance coverage.

II.      LAW AND ARGUMENT

         Fed. R. Civ. P. 24 recognizes two forms of intervention. Intervention is mandatory as

a matter of right when disposition of the action may, as a practical matter, impair or impede

a party’s ability to protect its interest. Intervention is permissive where the issues involve

common questions of law or fact.

         A.     Intervention of Right

         United Ohio should be permitted to intervene in this action as a matter of right in

order to protect its interests. In this regard, according to the Federal Rules of Civil Procedure,

Rule 24(a):

                (a) Intervention of Right.   On timely motion, the court must permit anyone to
                intervene who:

                                                      ****

                (2) claims an interest relating to the property or transaction that is the subject
                of the action, and is so situated that disposing of the action may as a practical
                matter impair or impede the movant's ability to protect its interest, unless
                existing parties adequately represent that interest.



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         The Sixth Circuit Court of Appeals has “interpreted Rule 24(a) as establishing four

elements, each of which must be satisfied before intervention as of right will be granted: (1)

timeliness of the application to intervene, (2) the applicant's substantial legal interest in the

case, (3) impairment of the applicant's ability to protect that interest in the absence of

intervention, and (4) inadequate representation of that interest by parties already before the

court.” Michigan State AFL–CIO v. Miller, 103 F.3d 1240, 1245 (6th Cir.1997), citing Cuyahoga

Valley Ry. Co. v. Tracy, 6 F.3d 389, 395 (6th Cir.1993). Each of the necessary circumstances

exist in the within matter.

         For the reasons set forth below, United Ohio meets all the requirements to intervene

as of right.

         1.     Timeliness of Motion

         The Sixth Circuit has directed district courts to consider the following factors in

determining whether a motion to intervene is timely: (1) the point to which the suit has

progressed; (2) the purpose for which intervention is sought; (3) the length of time

preceding the application during which the proposed intervenor knew or should have of

their interest in the case; (4) the prejudice to the original parties due to the proposed

intervenor's failure to promptly intervene after they knew or reasonably should have known

of their interest in the case; and (5) the existence of unusual circumstance militating against

or in favor of intervention. Grubbs v. Norris, 870 F.2d 343, 345 (6th Cir.1989).

         The Amended Complaint in this matter was filed in on February 21, 2024. Joie and

Jeremy Carr filed their answers to the Amended Complaint on April 19, 2024. As of this time,

the Court only recently issued its Preliminary Pretrial Order and set dates and deadlines that

will not conclude until August 2025. Further, it does not appear that any discovery has been

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conducted as to the merits of the Amended Complaint. United Ohio has acted with all due

diligence in order to prepare the Motion to Intervene and proposed Declaratory Judgment

Complaint in a timely fashion. As such, this Motion to Intervene is being filed while the case

is in its initial stage. Furthermore, intervention would not prejudice the original parties given

that no significant discovery has been conducted to date. Therefore, United Ohio’s Motion to

Intervene is timely.

                2.     Substantial Legal Interest in the Subject Matter of the Case.

         There is no clear definition of what constitutes a litigable “interest” for purposes of

intervention under Fed.R.Civ.P. 24(a)(2). Bradley v. Milliken, 828 F.2d 1186, 1192 (6th

Cir.1987). The Supreme Court has noted that “[w]hat is obviously meant [by Fed.R.Civ.P.

24(a)(2) ] is a significantly protectable interest.” Donaldson v. United States, 400 U.S. 517,

532, 91 S.Ct. 534, 543, 27 L.Ed.2d 580 (1971). Similarly, the Sixth Circuit has required a

“direct, substantial interest” in the litigation which must be “significantly protectable.” Jansen

v. City of Cincinnati, 904 F.2d 336, 341; Grubbs, 870 F.2d at 346. The Sixth Circuit has opted

for a rather expansive notion of the interest sufficient to invoke intervention of right.

Michigan State AFL–CIO v. Miller, 103 F.3d at 1245. United Ohio manifestly has a substantial

legal interest relating to the subject of this action because of its status as the insurer for Joie

and Jeremy Carr, two of the named defendants. Since Joie and Jeremy Carr have sought

coverage from United Ohio for the claims asserted against them by Plaintiff’s Amended

Complaint, United Ohio has a direct pecuniary interest, and thus a “significantly protectable”

interest, in the outcome of this case.




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                3.     United Ohio’s Ability to Protect Its Interest May Be Impaired in the
                       Absence of Intervention.

         If this action proceeds in United Ohio’s absence, United Ohio may be unable to protect

its interests. Without United Ohio being a party to this case, the issues regarding insurance

coverage provided by the United Ohio policies, which may or may not be present for Joie and

Jeremy Carr, would not be addressed by either Plaintiff or Joie and Jeremy Carr. In fact,

absent intervention by United Ohio, it is possible that it may be prohibited from arguing a

lack of coverage under the United Ohio policies should this matter proceed to a verdict

without United Ohio having the opportunity to participate in these proceedings.

         While United Ohio’s intervention herein adds another layer to this matter, United

Ohio does not believe that intervention will unduly delay or prejudice the adjudication of the

rights of the original parties. Intervention is the most economical method of addressing such

issues because insurer intervention in the underlying action brings all interested parties

before a single court. This can have a useful effect upon resolution of the litigation. As

explained by the Court in Allstate Ins. Co. v. Fields, Case No. 3:04CV7762, 2005 U.S. Dist. LEXIS

6813, at *4:

                There is, moreover, a positive virtue in allowing intervention:
                [the insurer] can participate fully in the pretrial phase of the
                litigation, including settlement discussions. This court
                frequently is called on to postpone trial of an underlying tort
                action to enable resolution of a coverage dispute. The delay
                thereby incurred is avoided by allowing the insurance company
                to participate in the underlying action as an intervenor.

                Most coverage actions, moreover, are decided on the basis of
                summary judgment. Motion practice in this case, including
                motions for summary judgment with regard to coverage issues,
                will conclude prior to the trial date. The outcome of that practice
                will give a measure of certainty to the parties. This, too, may
                facilitate settlement of the underlying dispute.

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         In fact, denying intervention would likely delay full resolution of this matter. If United

Ohio is required to litigate coverage issues elsewhere, such an action will only multiply the

time, effort and expense of all the parties, with the additional risk of conflicting

determinations of the insurer’s various coverage obligations.

         Thus, the most prudent way for United Ohio to protect its interests is for it to become

a party to this case. The burden of showing that the intervenor’s interests are not adequately

represented by existing parties is minimal and is met if the applicant shows merely that

representation of its interest may be inadequate.        Foster v. Gueroy, 655 F.2d 1319, 1325

(D.C. Cir. 1981); Bush v. Viterna, 740 F.2d 350, 355 (5th Cir. 1984); Sanguine Ltd. v. United

States Department of Interior, 736 F.2d 1416, 1419 (10th Cir. 1984). Once this minimum

burden is met, Civ. R. 24(A) provides that the applicant “shall be permitted to intervene.”

                4.     The Parties Already Before the Court Cannot Adequately Protect
                       United Ohio’s Interest.

         It should be evident that the existing parties would not adequately represent United

Ohio’s insurance coverage interests in this action. In this case, United Ohio’s interests are

certainly not protected by Plaintiff or the various Defendants, including specifically Joie and

Jeremy Carr. Indeed, Plaintiff’s principal interest is recovering on the claims against the

various Defendants, to include recovering monetary damages and payment of any such

damages from Joie and Jeremy Carr. In turn, Joie and Jeremy Carr’s principal interest is to

obtain insurance coverage for their alleged acts and omissions and to have funds available

through insurance to pay any damages awarded Plaintiff if they are found to be liable to

Plaintiff and each person aggrieved by Defendants’ discriminatory conduct.



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         Accordingly, it is respectfully submitted that this Court should allow United Ohio to

intervene in the instant case so that it may protect its interests and seek a declaration of its

obligations, if any, under the United Ohio policies issued by United Ohio to J Carr Rental

Property, LLC.

         B.      Permissive Intervention

         In the alternative, United Ohio should be permitted to intervene in this action

pursuant to Rule 24(b) of the Federal Rules of Civil Procedure, which states:

                 (b)   Permissive Intervention

                 (1)   In General. On timely motion, the court may permit anyone to intervene
                       who:

                                                     ****

                 (B)   has a claim or defense that shares with the main action a common
                       question of law or fact.

         Pursuant to Fed. R. Civ. R. 24(b), a movant seeking to permissively intervene “must

present (1) an independent ground for subject-matter jurisdiction; (2) a claim or defense

that has a question of law or fact in common with the main action; and (3) a timely motion.”

Nationwide Mut. Ins. Co. v. National REO Management, Inc., 205 F.R.D. 1 (D.D.C. 2000) (citing

EEOC v. National Children’s Ctr., 331 U.S. App. D.C. 101, 146 F.3d 1042, 1046 (D.D.C. 1998).

Once these have been established, the court “in its discretion . . . ‘shall consider whether the

intervention will unduly delay or prejudice the adjudication of the rights of the original

parties.’” Id.

         United Ohio has a basis for its own action contesting coverage. It could file an

independent action. However, the various policy terms and conditions at issue in the United

Ohio policies and any exclusions to coverage contained therein, and coverage under the

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United Ohio policies, is potentially contingent upon the outcome of this action. United Ohio’s

insurance coverage claims have questions of law and fact in common with Plaintiff’s

Amended Complaint and the claims asserted therein against Joie and Jeremy Carr. United

Ohio’s position that the United Ohio policies issued to J Carr Rental Property, LLC do not

provide liability insurance coverage to Joie and Jeremy Carr arises out of the same factual

basis as Plaintiff’s Amended Complaint asserting Fair Housing Act claims herein. In

determining whether Joie and Jeremy Carr are afforded liability coverage under the United

Ohio policies, the Court will apply Ohio law regarding the coverage issues. The motion is

timely and will not result in prejudice or undue delay to any of the existing parties.

         Accordingly, United Ohio should be permitted to intervene in this action pursuant to

Civil Rule 24(b).    See, Michigan State AFL-CIO v. Miller, 103 F.3d 1240 (6th Cir. 1997);

Grutter v. Bolinger, 188 F.3d 394 (6th Cir. 1999).

III.     CONCLUSION

         WHEREFORE, United Ohio Insurance Company, by and through counsel, respectfully

moves this Honorable Court for an Order allowing it to intervene in the within action.

                                            Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          This is to certify that on this 26th day of June, 2024, the foregoing document was

 electronically filed with the Clerk of the United States District Court for the Southern District

 of Ohio, using the CM/ECF system, which will send notification of such filing to all counsel of

 record.       This document was filed electronically and is available for viewing and

 downloading from the ECF system.

                                             s/ Matthew R. Planey
                                             Matthew R. Planey, Esq.

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